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                                                                            FILED
                        UNITED STATES DISTRICT COURT                   June 21, 2021
                       EASTERN DISTRICT OF CALIFORNIA                CLERK, US DSITRICT COURT
                                                                       EASTERN DISTRICT OF
                                                                            CALIFORNIA


UNITED STATES OF AMERICA,                     Case No. 2:21-cr-00109-JAM-3

                 Plaintiff,

      v.                                             ORDER FOR RELEASE OF
                                                      PERSON IN CUSTODY
VICTOR MANUEL VELAZQUEZ,

                 Defendant.

TO:    UNITED STATES MARSHAL:

      This is to authorize and direct you to release VICTOR MANUEL

VELAZQUEZ , Case No. 2:21-cr-00109-JAM-3 Charge 21 USC §§ 846; 841(a)(1),

from custody for the following reasons: for the following reasons:

                       Release on Personal Recognizance

                       Bail Posted in the Sum of $

                          X   Unsecured Appearance Bond $        16,000, co-signed

                              Appearance Bond with 10% Deposit

                              Appearance Bond with Surety

                              Corporate Surety Bail Bond

                              (Other): The Defendant shall be RELEASED at

                              09:00 AM, on 6/22/2021, to the custody of

                              Magdalena Cervantes and must immediately report
                          X
                              to the front of the Robert T. Matsui U.S.

                              Courthouse for the installation of location

                              monitoring equipment by the Pretrial Officer.
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Issued at Sacramento, California on June 21, 2021 at 3:00 PM.

                            By:       /s/ Carolyn K. Delaney

                                      Magistrate Judge Carolyn K. Delaney




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